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IN THE UNITED STATES DISTRICT COURT “9 JUN30 PH 2: 47

FOR THE SOUTHERN DISTRICT OF GEORGIACLERK

50. DIST. OF K
DUBLIN DIVISION

CARL W. STONE, JR., )
)

Plaintiff, )

)

V. ) CV 320-012

)

DR. MAYLOCK and )
JOHN DOE COMPANY, Dr. Maylock’s )
Employer, )
)

Defendants. )

ORDER

After a careful, de novo review of the file, the Court concurs with the Magistrate
Judge’s Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,

   
 

DISMISSES this case without prejudice, SES this civil action.

SO ORDERED this 90) >of

 

UNITED STATES DISTRICT JUDGE

 
